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                EXHIBIT 25
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 AFL-CIO, et al.,

 Plaintiffs,

 v.                                              Case No. 1:25-cv-00339

 DEPARTMENT OF LABOR, et al.,


 Defendants.




                     DECLARATION OF KATIE COAKLEY HARRISON

I, Katie Coakley Harrison, declare as follows:

      1. My name is Katie Coakley Harrison. I am the Director of Data & Analytics at the

         American Federation of State, County and Municipal Employees, AFL-CIO (AFSCME).

         I submit this declaration in support of Plaintiffs’ motion for a preliminary injunction in

         this matter. The statements made in this declaration are based on my personal knowledge,

         materials I have reviewed, and information made available to me pursuant to my duties at

         AFSCME.

      2. AFSCME is a national labor union and unincorporated association headquartered in

         Washington, DC. It is the largest trade union of public employees in the United States,

         with 1.4 million members organized into approximately 3,400 local unions, 58 councils,

         and 250 state and local subchapters of retiree members across 46 states, the District of

         Columbia, and Puerto Rico. Its members work in hundreds of different occupations,
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   including health care workers, custodians, food workers, corrections officers, and home

   healthcare workers.

3. AFSCME works to promote the welfare of members and provide a voice in the

   determination in the terms and conditions of employment. AFSCME does so by fighting

   to ensure its members receive fair pay and benefits, healthcare, economic security,

   retirement security, high quality public services, and full participation in the democratic

   process.

4. Of AFSCME’s membership, approximately 200,000 are retired public service workers

   who continue to remain members of AFSCME, participate in its governance, and

   advocate for fairness, equality, and income security for retired Americans. Many of these

   retiree AFSCME members are eligible for and enrolled in Medicare.

5. For many years, AFSCME has worked to improve the lives of its members by working to

   strengthen social insurance programs including Medicare and unemployment insurance.

   For instance, AFSCME members have protested against cuts to Medicare and AFSCME

   has called on Congress to enhance Medicare benefits. AFSCME has long opposed the

   privatization of Medicare and has passed a resolution against Medicare privatization and

   in support of proposals to strengthen the unemployment insurance trust. During the first

   Trump administration, AFSCME filed a lawsuit to block regulations that would have

   allowed for the privatization of the unemployment insurance system.

6. In addition, Shelby Meyenburg, an AFSCME member, recently testified before the U.S.

   House of Representatives Ways and Means Subcommittee on Work and Welfare about

   preventing fraud in the unemployment insurance system during the COVID-19 pandemic.

   Among other things, he testified about his experience being laid off in the spring of 2022
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   and ultimately receiving unemployment insurance himself. His testimony is available at

   https://waysandmeans.house.gov/wp-content/uploads/2025/01/Meyenburg-

   Testimony.pdf.

7. AFSCME has also long worked to protect its members’ private information. For example,

   AFSCME has passed resolutions in opposition to employer attempts to compromise

   worker rights to privacy by demanding worker passwords, “likes”, and log-ins to social

   media sites and to the use of AI in a manner that increases worker surveillance. AFSCME

   local unions have also fought attempts to expand the amount of personally identifiable

   information on public sector employees that is subject to public disclosure.

8. In addition, many of AFSCME’s local unions have bargained with employers to ensure

   member privacy, including limiting the ability of employers to surveille workers and

   prohibiting employers from accessing employees’ private social media accounts or

   retaliating against them for not providing private social media content.

9. In addition to its general attempts to protect members’ private data, AFSCME has

   specifically worked to protect the data of individuals who have received unemployment

   insurance. When the Washington State Auditor’s Office announced in 2021 that its third-

   party vendor had suffered a data breach, the AFSCME local union reached out to its

   members to inform them that the personally identifiable information of anyone who filed

   an unemployment claim throughout most of 2020 may have been compromised.

10. I am aware of AFSCME members who participate in Medicare, which is administered by

   the Centers for Medicare and Medicaid Services (CMS), housed within the Department

   of Health and Human Services (HHS).
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11. I am aware that the sensitive information of these and other AFSCME members is

   contained in HHS record systems, including Social Security numbers and sensitive health

   information as a result of their participation in Medicare.

12. It is my understanding that unemployment insurance records have been made available to

   the Department of Labor (DOL). Sensitive information of these and other AFSCME

   members likely contained in these UI records and other DOL record systems, including

   Social Security numbers, date of birth, phone numbers, email addresses, physical

   addresses, and recent employment history.

13. I am aware that personnel from the Department of Government Efficiency (DOGE) have

   accessed sensitive information at DOL and DHHS, including private health records and

   UI records.

14. I am not aware of any AFSCME member who has requested or authorized DOGE or its

   representatives to access their personal data or who has consented to the use of this data

   for any purposes previously disclosed by DOL or DHHS.

15. AFSCME has heard from many members who are personally concerned about DOGE’s

   access to the private personal and financial information that they have provided to federal

   agencies.

16. The injury AFSCME members have suffered as a result of the release of sensitive data to

   DOGE is compounded by the related increase in risk that this information will be stolen

   or misused by outside parties who can now gain access to less-protected data. As soon as

   uncredentialed DOGE personnel accessed this data, it was compromised, making

   AFSCME members easier targets for identity thefts and other scams.
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I declare under penalty of perjury as prescribed in 28 U.S.C. § 1746 that the foregoing is true and
correct.

Executed on April 17, 2025, in Washington, D.C.




                                                             Katie Coakley Harrison
